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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

 v.                                             Criminal Action No. 2:14-cr-27-3

 ARNOLD LEE MAYLE,
       Defendant.

                    OPINION/ REPORT AND RECOMMENDATION
                   CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Arnold Lee Mayle, in person and by counsel, Harry A. Smith, III, appeared before me on September

 29, 2014. The Government appeared by Assistant United States Attorney Stephen Warner. The

 Court determined that Defendant was prepared to enter a plea of “Guilty” to Count Two of the

 Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

        The Court inquired of Defendant whether he was a citizen of the United States. Defendant

 responded that he is a citizen. The undersigned asked Defendant whether he understood that if he

 were not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

 deportation at the conclusion of any sentence; that he would be denied future entry into the United

 States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

 understood.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

 asked the Government to tender the original to the Court. The Court asked counsel for the

 Government if the agreement was the sole agreement offered to Defendant. The Government

 responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for
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 the Government to summarize the written Plea Agreement. Defendant stated that the agreement as

 summarized by counsel for the Government was correct and complied with his understanding of the

 agreement. The Court ORDERED the written Plea Agreement filed.

        The Court next inquired of Defendant concerning his understanding of his right to have an

 Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

 Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he

 voluntarily waived his right to have an Article III Judge hear and accept his plea and voluntarily

 consented to the undersigned Magistrate Judge hearing and accepting his plea, and tendered to the

 Court a written Waiver of Article III Judge and Consent To Enter Guilty Plea Before Magistrate

 Judge, which waiver and consent was signed by Defendant and countersigned by Defendant’s

 counsel and was concurred in by the signature of the Assistant United States Attorney appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of

 his counsel and the representations of the Government, the Court finds that the oral and written

 waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, Arnold Lee Mayle, only after having had his rights fully explained to him and having a

 full understanding of those rights through consultation with his counsel, as well as through

 questioning by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty

 Plea before a Magistrate Judge filed and made part of the record.

        The undersigned then reviewed with Defendant Count Two of the Indictment and the

 elements the Government would have to prove, charging him with aiding and abetting the

 distribution of clonazepam, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(E)(2), and 18 U.S.C.


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 § 2. The undersigned then reviewed with Defendant the statutory penalties applicable to an

 individual adjudicated guilty of the felony charges contained in Count Two of the Indictment, the

 impact of the sentencing guidelines on sentencing in general, and inquired of Defendant as to his

 competency to proceed with the plea hearing. From said review the undersigned Magistrate Judge

 determined Defendant understood the nature of the charges pending against him and understood the

 possible statutory maximum sentence which could be imposed upon his conviction or adjudication

 of guilty on Count Two was imprisonment for a term of not more than five (5) years; understood that

 a fine of not more than $250,000.00 could be imposed; understood that both fine and imprisonment

 could be imposed; understood he would be subject to a period of at least one (1) year of supervised

 release; and understood the Court would impose a special mandatory assessment of $100.00 for the

 felony conviction payable on or before the date of sentencing. Defendant also understood that his

 sentence could be increased if he had a prior firearm offense, violent felony conviction, or prior drug

 conviction. He also understood he might be required by the Court to pay the costs of his

 incarceration and supervised release.

        The undersigned also reviewed with Defendant his waiver of appellate rights. Defendant

 recognized that in exchange for the concessions made by the United States in his written agreement,

 Defendant was waiving his right to appeal any conviction and any sentence to the Fourth Circuit

 Court of Appeals. Furthermore, Defendant was waiving his right to challenge his conviction and

 sentence by filing a writ of habeas corpus motion under 28 U.S.C. § 2255. Defendant further agreed

 that there were currently no known evidence of ineffective assistance of counsel or prosecutorial

 misconduct up to this point. From the foregoing, the undersigned determined that Defendant




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 understood his appellate rights and knowingly gave up those rights pursuant to the conditions

 contained in the written plea agreement.

        The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

 and voluntary execution of the written plea bargain agreement, and determined the entry into said

 written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

 undersigned then inquired of Defendant regarding his understanding of the written plea agreement.

 Defendant stated he understood the terms of the written plea agreement and also stated that it

 contained the whole of his agreement with the Government and no promises or representations were

 made to him by the Government other than those terms contained in the written plea agreement.

        The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Two

 of the Indictment, the undersigned Magistrate Judge would write the subject Report and

 Recommendation and would further order a pre-sentence investigation report be prepared by the

 probation officer attending the District Court. The undersigned advised the Defendant that the

 District Judge would adjudicate the Defendant guilty of the felony charged under Count Two of the

 Indictment. Only after the District Court had an opportunity to review the pre-sentence investigation

 report, would the District Court make a determination as to whether to accept or reject any

 recommendation or stipulation contained within the plea agreement or pre-sentence report. The

 undersigned reiterated to the Defendant that the District Judge may not agree with the

 recommendations or stipulation contained in the written agreement. The undersigned Magistrate


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 Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

 event the District Court Judge refused to follow the non-binding recommendations or stipulation

 contained in the written plea agreement and/or sentenced him to a sentence which was different from

 that which he expected, he would not be permitted to withdraw his guilty plea. Defendant and his

 counsel each acknowledged their understanding and Defendant maintained his desire to have his plea

 of guilty accepted.

        Defendant also understood that his actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

 and Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory,

 and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

 higher sentence than he expected, he would not have a right to withdraw his guilty plea. Defendant

 further stated his attorney showed him how the advisory guideline chart worked but did not promise

 him any specific sentence at the time of sentencing. Defendant stated that he understood his attorney

 could not predict or promise him what actual sentence he would receive from the sentencing judge

 at the sentencing hearing. Defendant further understood there was no parole in the federal system,

 although he may be able to earn institutional good time, and that good time was not controlled by

 the Court, but by the Federal Bureau of Prisons.

        Usually, the Court would hear the testimony of a Government witness to provide an

 independent basis in fact for Defendant’s plea. However, the parties stipulated that the Government

 would provide a proffer to support such an independent basis in fact. The Government proffered that

 on May 16, 2013, officers from the DEA, United States Forest Service, Randolph County Sheriff’s

 Department, and the West Virginia State Police utilized a confidential informant (“CI”) to make a



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 controlled purchase of clonazepam from co-defendant Jeremy White at his residence in Elkins, West

 Virginia, within the Northern District of West Virginia. Officers conducted physical surveillance

 and listened to the transaction through real-time audio. Once the CI had entered White’s residence,

 White indicated that his source would be arriving soon from Ohio. Subsequently, a silver Honda

 Accord with an Ohio license plate pulled up outside White’s residence. Co-defendant Angie Graeber

 got out of the car; Defendant was the driver. Graeber entered White’s residence and provided White

 with a quantity of clonazepam pills. Graeber left the residence and got back into the vehicle driven

 by Mayle. The CI then purchased 57 clonazepam pills from White for $300.00. The DEA laboratory

 confirmed that the pills contained clonazepam. Defendant had a prescription for clonazepam.

        White was interviewed on June 26, 2013. He indicated that his source was Graeber and

 “Arnold Lee;” he did not know Defendant’s last name at that time. White indicated that he had been

 associating with Graeber for four (4) years and had met Defendant a year ago. He also indicated that

 he had obtained approximately 100 pills per month from Graeber. Graeber was interviewed on

 September 6, 2013. She indicated that she had taken clonazepam pills to White for Defendant on

 approximately three (3) occasions. On each occasion, White would provide her with $500-600,

 which she would take back to Defendant.

        Thereupon, Defendant, Arnold Lee Mayle, with the consent of his counsel, Harry A. Smith,

 III, proceeded to enter a verbal plea of GUILTY to the felony charge in Count Two of the

 Indictment.

        Defendant stated he heard, understood, and did not disagree with the Government’s proffer.

 The undersigned United States Magistrate Judge concludes the offense charged in Count Two of

 the Indictment are supported by an independent basis in fact concerning each of the essential

 elements of such offense. That independent basis is provided by the Government’s proffer.


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        Upon consideration of all of the above, the undersigned Magistrate Judge finds that

 Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

 understood his right to have an Article III Judge hear and accept his plea and elected to voluntarily

 consent to the undersigned United States Magistrate Judge hearing his plea; Defendant understood

 the charges against him, not only as to the Indictment as a whole, but in particular as to Count Two

 of the Indictment; Defendant understood the consequences of his plea of guilty, in particular the

 maximum statutory penalty to which he would be exposed for Count Two; Defendant made a

 knowing and voluntary plea of guilty to Count Two of the Indictment; and Defendant’s plea is

 independently supported by the Government’s proffer which provides, beyond a reasonable doubt,

 proof of each of the essential elements of the charges to which Defendant has pled guilty.

        The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

 Two of the Indictment herein be accepted conditioned upon the Court’s receipt and review of this

 Report and Recommendation.

        The undersigned further directs that a pre-sentence investigation report be prepared by the

 adult probation officer assigned to this case.

        Defendant is RELEASED pursuant to the Order Setting Conditions of Release previously

 entered in this matter. At the conclusion of the hearing, counsel for Defendant indicated that

 Defendant’s Adult Pretrial Services Officer had stated that Defendant would be expected to make

 a round trip to and from Canton, Ohio, on the same day as any scheduled appearances in this Court.

 The Court finds that Defendant is over 70 years of age, that he travels with family, and that Canton,

 Ohio, is more than four (4) hours away from the Elkins point of holding Court. Accordingly,

 Defendant’s request for permission to stay overnight on the nights preceding and following


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 scheduled court appearances is GRANTED. Defendant shall be permitted to travel from Ohio on

 the day preceding a scheduled court appearance and shall be permitted to return to Ohio on the day

 following same appearance.

        Any party may, within fourteen (14) days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy

 of such objections should also be submitted to the Honorable John Preston Bailey, Chief United

 States District Judge. Failure to timely file objections to the Report and Recommendation set forth

 above will result in waiver of the right to appeal from a judgment of this Court based upon such

 report and recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir.

 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas

 v. Arn, 474 U.S. 140 (1985).

        The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 counsel of record.

        Respectfully submitted this 30th day of September, 2014.

                                                      John S. Kaull
                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE




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